         Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 1 of 11



                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


                                                                  )
UNITED STATES OF AMERICA                                          )
                                                                  )
         v.                                                       )
                                                                  ) Criminal Action No. 14-10363-RGS
BARRY J. CADDEN, et al.                                           )
                                                                  ) ORAL ARGUMENT REQUESTED
                                                                  )
         Defendants.
                                                                  )
                                                                  )
                                                                  )

              JOINT MOTION TO EXCLUDE EVIDENCE OF PATIENT HARM
                   RELATED TO METHYLPREDNISOLONE ACETATE

         Defendants Joseph Evanosky, Gene Svirskiy, Christopher Leary, Scott Connolly, Sharon

Carter, Alla Stepanets, Gregory Conigliaro, Kathy Chin, and Michelle Thomas move to exclude

all evidence of patient harm related to methylprednisolone acetate (MPA). Unlike Barry Cadden

and Glenn Chin, both of whom were charged with 25 acts of second-degree murder in

connection with MPA compounded at the New England Compounding Center (“NECC”), none

of the remaining defendants in this case is alleged to have had any responsibility whatsoever for

any MPA-related act or omission that caused harm to patients. They are not alleged to have had

any involvement with the production of MPA. Evidence of MPA-related patient harm is thus

irrelevant to the charges against them. Moreover, even in the Cadden and Chin trials, where the

defendants were charged with offenses involving MPA-related harm to patients, this Court

recognized the serious risk of unfair prejudice inherent in the MPA-related evidence of patient

harm and limited it accordingly.1 Such evidence would be even more unfairly prejudicial here. It


1
 E.g. ECF Docket Entry 834, January 1, 2017 (granting Cadden’s motion to exclude evidence of uncharged deaths
and injuries, and allowing evidence “as to the deaths actually charged . . . subject to the court’s rulings on proposed
exhibits, particularly those that are deemed unfairly or unduly prejudicial because of their gruesome and/or
cumulative nature”).
             Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 2 of 11



     would also run the risk of seriously confusing the issues and wasting the jury’s time on evidence

     that will not help it decide whether these defendants committed the offenses charged: mail fraud

     racketeering acts and substantive counts, racketeering conspiracy, conspiracy to defraud the FDA,

     and Food, Drug and Cosmetic Act (FDCA) violations. This trial will be lengthy and complex as

     it is, and there is no need to prolong and taint it through the introduction of unfairly prejudicial

     evidence that is irrelevant to the offenses at hand.

                                                ARGUMENT

I.          Evidence of MPA-related patient harm is irrelevant to this trial.

            “Evidence is relevant if (a) it has any tendency to make a fact more or less probable than

     it would be without the evidence; and (b) the fact is of consequence in determining the action.”

     Fed. R. Evid. 401. “Irrelevant evidence is not admissible.” Fed R. Evid. 402. In this trial,

     evidence of MPA-related patient harm is irrelevant and should be excluded.

            First, evidence of MPA-related patient harm is irrelevant because the defendants in this

     trial are not charged with or otherwise accused of having any involvement with the production of

     MPA. Indeed, it is undisputed that Glenn Chin was the only NECC pharmacist who made the

     drug. See, e.g., Government closing argument, Chin trial transcript, Oct. 20, 2017, p. 51

     (describing Chin as “the only one who made the steroids”).

            Further, evidence of MPA-related patient harm is irrelevant because the crimes these

     defendants are charged with do not require any evidence of patient harm for conviction, nor is

     any MPA-related patient harm alleged in connection with their charged offenses. The defendants

     here are charged with mail fraud both as racketeering acts and substantively, with a mail fraud

     racketeering conspiracy (not a conspiracy relating to murder), with conspiracy to defraud the

     FDA in connection with NECC’s status as a compounding pharmacy, and with FDCA




                                                      -2-
         Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 3 of 11



violations.2 To prove mail fraud, the government has to prove that Svirskiy, Leary, Evanosky,

and Scott Connolly “devised and intended to devise a scheme and artifice to defraud NECC’s

customers and the patients of those customers, and to obtain money and property by means of

materially false and fraudulent pretenses, representations, and promises.” E.g. Indictment ¶ 64.

To prove the RICO conspiracy charge, the government must prove that Svirskiy, Leary,

Evanosky, Carter, and Stepanets “unlawfully and knowingly conspired . . . to conduct and

participate, directly and indirectly, in the conduct of the affairs of [an] enterprise through a

pattern of racketeering activity . . . consisting of multiple acts of [mail fraud].” Indictment ¶ 73.

Similarly, to prove conspiracy to defraud the FDA, the government must prove that Carter,

Stepanets, and Gregory Conigliaro “knowingly and willfully conspired and agreed together . . .

to defraud the United States . . . of and concerning its right to have its business and its affairs,

and particularly the transaction of the official business of the Food and Drug Administration

(‘FDA’) conducted honestly and impartially, free from corruption, fraud, improper and undue

influence, dishonesty, unlawful impairment, and obstruction.” Indictment ¶ 77. Finally, to prove

the FDCA violations, the government must prove that Svirskiy, Leary, Evanosky, Stepanets,

Kathy Chin, and Thomas “with the intent to defraud or mislead, caused to be introduced and

delivered for introduction into interstate commerce” the specified drugs prepared, labeled, or

dispensed in violation of the FDCA. E.g. Indictment ¶ 115.

        Evidence of MPA-related patient harm is thus irrelevant to whether these defendants

committed the charged offenses, unlike in the Cadden and Chin trials, where the defendants were

charged with second-degree murder. E.g., United States v. Brandon, 17 F.3d 409, 444 (1st Cir.

1994) (affirming exclusion of evidence as irrelevant because it did “not make either of [the

2
  Cf. Memorandum and Order on Restitution re: Glenn Chin, March 20, 2018, ECF No. 1455 (reasoning that patients
injected with tainted MPA were not the relevant victims for calculation of restitution because Chin was convicted of
mail fraud offenses, which do not require the government to prove patient harm).




                                                        -3-
             Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 4 of 11



      party’s] theories any more likely to be true”); United States v. Lamberty, 778 F.2d 59, 61 (1st Cir.

      1985) (finding error in the district court’s admission of report to police that defendant postmaster

      was tampering with packages, prompting a sting operation that led to charges, because such

      evidence was not “in any way relevant to proving the elements of the counts charged” and “had

      no probative value,” even if jurors “may have been curious as to why the inspectors began their

      operation”).

II.          Evidence of MPA-related patient harm would cause substantial unfair prejudice,
             confuse the issues, and waste the jury’s time.

             In addition, even if evidence of MPA-related patient harm did have some relevance in

      this trial, it should still be excluded because any probative value would be substantially

      outweighed by the danger of unfair prejudice. Fed. R. Evid. 403; see also Fed. R. Evid. 403

      Advisory Committee Notes (describing “unfair prejudice” as “an undue tendency to suggest

      decision on an improper basis, commonly, though not necessarily, an emotional one.”). Because

      the defendants in this trial are not charged with counts where patient harm is an element of the

      offense, evidence of MPA-related patient harm should also be excluded because it would confuse

      the issues and waste the jury’s time. Id.

             This case as a whole is the result of a years-long government investigation sparked by a

      widespread fungal meningitis outbreak linked to injections of NECC-made MPA, with scores of

      fatalities and hundreds more injured victims. For obvious reasons, charges directly tied to MPA

      and the outbreak were at the heart of the government’s case against Cadden and Chin. But the

      MPA-related outbreak is not part of the charges against these defendants. The defendants here

      were charged alongside Cadden and Chin because they worked at NECC, and aspects of that

      work will be at issue in this trial. They are not charged with killing or injuring anyone, and they




                                                      -4-
          Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 5 of 11



are not mentioned in the portion of the indictment detailing the outbreak-related MPA allegations.

E.g. Indictment ¶¶ 40–62.

          Courts have recognized that permitting evidence concerning patient harm can create

unfair prejudice in cases that do not centrally concern that harm. E.g., United States ex rel. El-

Amin v. George Washington University, 533 F. Supp. 2d 12, 34 (D.D.C. 2008) (evidence of

patient harm in a case about billing “would undoubtedly implicate Federal Rule of Evidence

403”); United States v. Mermelstein, 487 F. Supp. 2d 242, 257 (E.D.N.Y. 2007) (allegations

about patient injury in a case “essentially” about fraud raised concerns of “substantial potential

prejudice” and “might improperly influence the jury’s consideration of the fraud charges,”

particularly given that “[t]he allegation that defendant’s misconduct caused [patient injury] is a

more serious charge than one of fraud”); United States v. Bainbridge Mgmt., L.P., No. 01 CR

469-1, 2002 WL 31006135, at *1–2 (N.D. Ill. Sept. 5, 2002) (excluding as irrelevant and unfairly

prejudicial evidence that a codefendant performed unnecessary angioplasties that led to two

patient deaths, when defendants were charged with “mail and wire fraud, health care fraud, and

racketeering,” and “[t]he crux of the indictment involve[d] a kickback and bribery scheme,”

noting that such evidence was “inflammatory and likely to prejudice the jury against the . . .

defendants who are not charged with causing the patients’ deaths.”). Cf. United States v. Gore,

No. 00 CR 737, 2002 WL 1285079, at *1 (N.D. Ill. June 6, 2002) (excluding as unduly

prejudicial evidence that defendant’s co-conspirator sold illegal drugs to a person who died by

overdose, because the defendant was not charged with that death, or indeed with any injury or

death).

          Admitting evidence of MPA-related patient harm in this trial would create a substantial

risk that jurors will decide fraud and regulatory charges on an improper emotional basis. Jurors




                                                 -5-
       Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 6 of 11



may be so moved by the tragedy that they will hold anyone connected to NECC responsible for it

in whatever fashion possible, even if the government has not proven the elements of the crimes

charged. See United States v. Varoudakis, 223 F.3d 113, 122 (1st Cir. 2000) (“Usually, courts

use the term ‘unfair prejudice’ for evidence that invites a jury to render a verdict on an improper

emotional basis.”); cf. United States v. Rodriguez Cortes, 949 F.2d 532 (1st Cir. 1991) (vacating

defendant’s cocaine-related conviction and remanding for new trial due to trial court’s “blatantly

prejudicial” admission of an unauthenticated ID card identifying the defendant as Colombian,

which had little probative value, “made it more likely that whatever preconceived notions the

jury might have had about Colombians and drug trafficking would infect the deliberative

process,” and allowed the jury to “find the defendant guilty by reason of his national origin”).

       For instance, in United States v. Ramirez-Rivera, 800 F.3d 1, 44 (1st Cir. 2015), a case

involving a violent street gang, the court held that testimony about “an additional murder” would

not cause the jury to have an improper emotional reaction, “[g]iven the nature of this violence-

infested case.” By contrast, admitting evidence of patient harm in this case would dramatically

change the character of the trial and distract from the actual charges.

       Without a government exhibit list for the third NECC-related trial, it is difficult to argue

in greater detail about the unduly prejudicial impact of specific evidence. However, based on the

gruesome autopsy photos and understandably heart-rending evidence and testimony from the

victims’ next of kin offered in the Cadden and Chin trials, it is clear that evidence of MPA-

related patient harm would invite the jury to decide this trial based on the very kind of improper

emotional basis Rule 403 is intended to prohibit. This was, in fact, one of the arguments

advanced for severing the defendants’ trial from that of Cadden and Chin. Here too, it is

imperative to keep this evidence out because the risk of unfair prejudice is too high. See ECF




                                                 -6-
       Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 7 of 11



Docket Entry 611, July 26, 2016 (denying government’s motion in limine to “admit relevant

evidence related to the 2012 fungal meningitis outbreak” against Doug and Carla Conigliaro

because, among other reasons, “evidence of the consequences of the outbreak, with the many

deaths and grave illnesses that followed, would be highly prejudicial to the defendants and would

serve no meaningful purpose.”)

       In addition to improperly stirring up emotion, the admission of evidence of patient harm

in this trial would also foster the highly prejudicial misconception that these defendants played a

role in the meningitis outbreak. After two trials and more than five years of high-profile media

coverage of NECC focused on the meningitis outbreak, this misconception may already exist.

Barring all evidence of MPA-related patient harm would draw a clear line and distinguish this

trial, and these charges, from those faced by Cadden and Chin.

       The risk of guilt by association is “perhaps greatest” in this kind of situation, “where the

defendant has done little but is closely associated with others already known to have been

convicted or, more often, who are co-defendants or alleged co-conspirators whose patent

wrongdoing is brought out in detail in the trial.” United States v. Allen, 670 F.3d 12, 16 (1st Cir.

2012). See also United States v. Ofray-Campos, 534 F.3d 1, 23 (1st Cir. 2008) (quoting United

States v. Izzi, 613 F.3d 1205, 1210 (1st Cir. 1980), to note that “Guilt by association is one of the

ever present dangers in a conspiracy count that covers an extended period.”). As Justice Jackson

noted in “his well-known concurrence in Krulewitch v. United States”:

       A co-defendant in a conspiracy trial occupies an uneasy seat. There generally will
       be evidence of wrongdoing by somebody. It is difficult for the individual to make
       his own case stand on its merits in the minds of jurors who are ready to believe
       that birds of a feather are flocked together.

Id. (citing Krulewitch, 336 U.S. 440, 454 (Jackson, J. concurring)).




                                                 -7-
       Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 8 of 11



       Similarly, because the defendants here are not charged with any offenses involving MPA-

related patient harm, evidence of such harm would also waste the jury’s time and confuse the

issues, suggesting that this trial is somehow about the meningitis outbreak when in fact it is not.

This trial will be long and complex as it is, dealing with evidence actually relevant to the mail

fraud, racketeering, racketeering conspiracy, and FDCA charges these nine different defendants

face. There is no need to prolong it through the introduction of extremely prejudicial evidence

that will not even help the jury decide whether the government has met its burden of proving the

elements of the offenses at hand.

                                         CONCLUSION

       For the foregoing reasons, this Court should exclude all evidence of MPA-related patient

harm from the trial of Evanosky, Svirskiy, Leary, Scott Connolly, Carter, Stepanets, Gregory

Conigliaro, Kathy Chin, and Thomas.

Respectfully submitted,

JOSEPH M. EVANOSKY,                                GENE SVIRSKIY,
By his attorneys,                                  By his attorneys,



/s/ Mark W. Pearlstein                             /s/ Jeremy M. Sternberg
Mark W. Pearlstein (BBO #542064)                   Jeremy M. Sternberg (BBO #556566)
Dana M. McSherry (BBO #664430)                     Christopher M. Iaquinto (BBO #685718)
Jennifer Aronoff (admitted pro hac vice)           HOLLAND & KNIGHT
Evan D. Panich (BBO #681730)                       10 St. James Avenue
MCDERMOTT WILL & EMERY LLP                         11th Floor
28 State Street                                    Boston, Massachusetts 02116
Boston, Massachusetts 02109-1775                   (617) 854-1476
(617) 535-4000                                     jeremy.sternberg@hklaw.com
mpearlstein@mwe.com                                christopher.iaquinto@hklaw.com
dmcsherry@mwe.com




                                                -8-
       Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 9 of 11



CHRISTOPHER M. LEARY,                  SCOTT M. CONNOLLY,
By his attorneys,                      By his attorney,



/s/ Paul V. Kelly                      /s/ Raymond Sayeg
Paul V. Kelly (BBO #267010)            Raymond Sayeg (BBO #555437)
Sarah W. Walsh (BBO #664232)           KRATTENMAKER O’CONNOR & INGBER P.C.
JACKSON LEWIS PC                       One McKinley Square
75 Park Plaza                          5th Floor
4th Floor                              Boston, Massachusetts 02109
Boston, Massachusetts 02116            (617) 742-1184
(617) 367-0025                         rsayeg@koilaw.com
paul.kelly@jacksonlewis.com
sarah.walsh@jacksonlewis.com


SHARON P. CARTER,                      ALLA V. STEPANETS,
By her attorney,                       By her attorney,



/s/ Michael J. Pineault                /s/ John H. Cunha Jr.
Michael J. Pineault (BBO #555314)      John H. Cunha Jr. (BBO #108580)
CLEMENTS & PINEAULT, LLP               CUNHA & HOLCOMB, P.C.
24 Federal Street                      One State Street
Boston, Massachusetts 02110            Suite 500
(857) 445-0135                         Boston, Massachusetts 02109-3507
mpineault@clementspineault.com         (617) 523-4300
                                       cunha@cunhaholcomb.com


GREGORY A. CONIGLIARO,                 KATHY S. CHIN,
By his attorney,                       By her attorney,



/s/ Daniel Rabinovitz                  /s/ Joan M. Griffin
Daniel Rabinovitz (BBO #558419)        Joan M. Griffin (BBO #549522)
MURPHY & KING, PC                      P.O. Box 133
One Beacon Street                      Dublin, New Hampshire 03444
21st Floor                             (617) 283-0954
Boston, Massachusetts 02108            griffin@lawjmg.com
(617) 423-0400
drabinovitz@murphyking.com




                                     -9-
       Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 10 of 11



MICHELLE L. THOMAS,
By her attorney,



/s/ Michael C. Bourbeau
Michael C. Bourbeau (BBO #545908)
BOURBEAU AND BONILLA, LLP
Building K
80 Washington Street
Norwell, Massachusetts 02061
(617) 350-6565
mike@lawgenie.com



March 27, 2018


                            REQUEST FOR ORAL ARGUMENT

       Defendants respectfully request oral argument on this Motion under Local Rules 7.1(d)
and 112.1.

                    CERTIFICATE PURSUANT TO L.R. 7.1 AND 112.1

        I hereby certify that I conferred with Assistant United States Attorney George Varghese
in a good faith effort to resolve or narrow the issues raised by this motion pursuant to L.R. 7.1
and 112.1.

                                             /s/ Dana M. McSherry
                                             Dana M. McSherry




                                               -10-
      Case 1:14-cr-10363-RGS Document 1461 Filed 03/27/18 Page 11 of 11




                               CERTIFICATE OF SERVICE

I, Dana M. McSherry, hereby certify that this document was filed on March 27, 2018, via the
ECF system, and was sent electronically on that date to the parties’ counsel of record.

                                           /s/ Dana M. McSherry
                                           Dana M. McSherry
